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                               UNITED STATES DISTRICT COURT
                                                           for the
                                                    District of Colorado

                    United States of America                         )
                               v.                                    )
                                                                     )
                                                                     )         Case No. 19-mj-00025-NRN
                       Leonard L. Luton                              )
                                                                     )
                           Defendant(s)



                                           CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge and belief:
 On or about the date(s) of __January 22, 2019_________, in the county of ___Larimer_____ in the
 _____________________District of ________Colorado__________, the defendant (s) violated:

                Code Section                                                   Offense Description

                18 U.S.C. 1349                             Attempt and Conspiracy to Commit Mail Fraud (18 U.S.C. 1341)




        This criminal complaint is based on these facts:
        See Affidavit attached hereto and herein incorporated by reference.


        X   Continued on attached sheet.



                                                                         s/Kevin P. Hoyland
                                                                                       Complainant’s signature

                                                                         Kevin P. Hoyland, FBI Special Agent
                                                                                       Printed name and title

Sworn to before me and:      signed in my presence.
        [[[ submitted, attested to, and acknowledged by reliable electronic
                                                                        nic means.

Date: 01/31/2019
                                                                                              JJudge’s
                                                                                                 d ’ signature
                'HQYHU&RORUDGR
City and state:                                                                    0DJLVWUDWH-XGJH15HLG1HXUHLWHU
                                                                                          Printed name and title
